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               IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION


WILLIAM F. DELOACH, d/b/a
Deloach Pilot Car Service LLC,

      Plaintiff,

V                                              CASE NO. CV421-224


BRYAN MURRY and GEICO INSURANCE
CORP.,


      Defendants.




                                ORDER


     Before the Court is the Magistrate Judge's April 27, 2022,

Report   and   Recommendation   (Doc.   13),   to   which   Plaintiff   has

responded (Docs. 14, 16). After a careful review of the record,^

the report and recommendation (Doc. 13) is ADOPTED as the Court's

opinion in this case.

     The Magistrate Judge recommended that this case be dismissed

because the Court lacks subject matter jurisdiction. (Doc. 13 at

6-7.) Plaintiff has not filed any formal objection, but he has

submitted two letters to the Court. (Docs. 14, 16.) Generally,




^ The Court reviews de novo a magistrate judge's findings to which
a party objects, and the Court reviews for clear error the portions
of a report and recommendation to which a party does not object.
28 U.S.C. § 636(b)(1); see Merchant v. Nationwide Recovery Serv.,
Inc., 440 F. Supp. 3d 1369, 1371 (N.D. Ga. 2020) (citing Macort v.
Prem, Inc., 208 F. App'x 781, 784 (11th Cir. 2006) (per curiam)
(outlining    the   standard    of   review    for   report    and
recommendations)).
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parties are discouraged from sending letters to the Court; instead

of letters, parties should submit formal pleadings, motions, or,

in this case, objections. See In Re: Unsolicited Letters to Fed.

Judges, 120 F. Supp. 2d 1073, 1074 (S.D. Ga. 2000); see also Doc.

13 at 7-8 (containing express instructions for the filing of any

objections). However, because Plaintiff is proceeding pro se, the

Court will consider the contents of his two submissions. See Retic


V.    United States, 215 F. App'x 962, 964 (11th Cir. 2007) (per

curiam) (''Federal courts sometimes will ignore the legal label

that a pro se litigant attaches to a [filing] and recharacterize

the    [filing]   in   order     to    place    it   within   a   different   legal

category." (quoting Castro v. United States, 540 U.S. 375, 381, 124

S. Ct. 786, 791, 157 L. Ed. 2d 778 (2003))).

       Plaintiff's     letters    do    not    contest any    of the   Magistrate

Judge's    findings     or     recommendations        regarding     jurisdiction.^

Instead, he first asks the Court to issue subpoenas so that he can



2 Plaintiff informs the Court that he seeks a variety of damages,
including restitution for lost income to his LLC. (Doc. 16 at 1.)
If Plaintiff DeLoach is seeking damages on behalf of his company,
he has already been informed that he cannot bring these claims pro
se. (Doc. 5 at 1-2.) Moreover, it is not clear that Plaintiff,
individually, has standing to pursue claims on behalf of the LLC.
See, e.g., Siewe v. Fay Servicing, LLC, No. 1:21-CV-0079-CC-JSA,
2021 WL 2651819, at *6 (N.D. Ga. Feb. 18, 2021) (analyzing why a
member of a limited liability company under Georgia law does not
have standing to pursue claims on behalf of the company). As
standing also implicates this Court's jurisdiction, Gardner v.
Mutz, 962 F.3d 1329, 1338-39 (11th Cir. 2020), Plaintiff's
representation that the claims asserted are, in fact, the LLC's
might be another independent reason to dismiss his claims.
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investigate his claims. (Doc. 14 at 1.) As the Magistrate Judge

observed, the Court does not have subject matter jurisdiction over

this case. (Doc. 13.) It therefore does not have the power to issue

the requested subpoenas. See U.S. Catholic Conference v. Abortion

Rights Mobilization, Inc., 487 U.S. 72, 76, 108 S. Ct. 2268, 2271,

101 L. Ed. 2d 69 (1988) (''[T]he subpoena power of a court cannot

be more extensive than its jurisdiction . . . . [I]f a district

court     does    not    have    subject-matter       jurisdiction    over   the

underlying action . . . then the process is void . . . ."); United

States V. Morton Salt Co., 338 U.S. 632, 642, 70 S. Ct. 357, 363,

94 L. Ed. 401 (1950) ("'The judicial subpoena power . . . is subject

to   those     limitations      inherent   in   the   body   that   issues   them

. . . ."); see also Houston Bus. J., Inc. v. Off, of the Comptroller

of the Currency, 86 F.3d             1208, 1213 (D.C. Cir. 1996) (^MT]he

district court is . . . without power to issue a subpoena when the

underlying action is not even asserted to be within federal-court

jurisdiction.")

        Plaintiff next informs the Court that he needs ^'legal advice."

(Doc. 16 at 1.) "Of course, this Court cannot give legal advice."

Mikell V. United States, No. CV609-065, 2009 WL 3201769, at *1

(S.D.    Ga.     Oct.   6,   2009)   (citation    omitted).    To    the   extent

Plaintiff s letter is construed as a request for counsel. Plaintiff

has no constitutional right to counsel in this civil case. Wright

V. Langford, 562 F. App'x 769, 111 (11th Cir. 2014) (citing Bass
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V. Perrin, 170 F.3d 1312, 1320 {11th Cir. 1999)). The Court has

"broad discretion" in determining whether to appoint counsel and

should do so "only in exceptional circumstances." Id. (citing Bass,

170 F.3d at 1320). Considering this Court does not have subject

matter jurisdiction over Plaintiff's claims, this is not one of

the "exceptional circumstances" where it might appoint counsel. In

summary. Plaintiff's representations identify no defect in the

Magistrate Judge's analysis in the report and recommendation.

        For   the    foregoing   reasons, the      report    and   recommendation

(Doc.    13)    is    ADOPTED    as   the   Court's   opinion      in   this   case.

Plaintiff's Complaint (Doc. 1) and Amended Complaint (Doc. 12) are

DISMISSED WITHOUT PREJUDICE.^ The            Clerk    of   Court is DIRECTED     to


close this case.


        SO ORDERED this Jf day of May 2022.


                                        WILLIAM T. MOOR^ JR.
                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN   DISTRICT OF GEORGIA




3 Riley V. Fairbanks Cap. Corp., 222 F. App'x 897, 900 (11th Cir.
2007) (explaining district court's dismissal of case for lack of
subject matter jurisdiction should be without prejudice).
